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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS



GREATER BOSTON LEGAL SERVICES, et al.,
                                     DEFENDANTS’ OPPOSITION
                                     TO PLAINTIFFS’ MOTION FOR
                 Plaintiffs,         LEAVE TO CONDUCT LIMITED
     v.                              DISCOVERY IN ORDER TO
                                     COMPLETE AND/OR
UNITED STATES DEPARTMENT OF HOMELAND SUPPLEMENT THE
     SECURITY, et al.,               ADMINISTRATIVE RECORD

                 Defendants.                  Case No.: 1:21-cv-10083-DJC




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                                        INTRODUCTION

       The claim in this case has been narrowed, through two rounds of motions to dismiss, to

Plaintiffs’ claim that Defendants have a so-called “Nondisclosure Policy” pursuant to which they

ignore their legal obligations to disclose records during the affirmative asylum process and instead

tell noncitizens and their counsel to file a Freedom of Information Act (“FOIA”) request for the

records. Plaintiffs contend that this so-called policy is arbitrary and capricious and contrary to law,

in violation of the Administrative Procedure Act (“APA”). This being an APA case, judicial review

is based on the Administrative Record for the challenged policy. The purported “Nondisclosure

Policy,” however, is a policy of Plaintiffs’ own invention and does not exist—a position that

Defendants have consistently taken in this case. Thus, the Administrative Record does not contain

material the agency considered or relied upon in adopting the purported Nondisclosure Policy,

because it does not exist, and instead contains information about Defendants’ actual policy, which

is to produce certain information during the ordinary course of U. S. Citizenship and Immigration

Services’ (“USCIS’s”) consideration of an affirmative asylum application and generally prohibit

other discovery, with FOIA being available to fill the gap.

       In the instant motion, Plaintiffs claim the Administrative Record is incomplete and seek

discovery to determine what a complete record should consist of, principally because the Record

does not contain the reasoning behind the agency’s purported decision to enact the “Nondisclosure

Policy” or the relevant factors the agency considered in adopting the “Nondisclosure Policy.” But

discovery is disfavored in APA cases, and it is simply not possible to create an Administrative

Record for a non-existent policy. Nor does the Record Defendants did compile frustrate judicial

review of Plaintiffs’ claim. Armed with that Record, Plaintiffs are free to argue at summary

judgment that USCIS’s actual disclosure policy is arbitrary and capricious or contrary to law.
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Plaintiffs also speculate that portions of two agency manuals and training documents should have

been included in the Record, but their rank speculation is insufficient to overcome the presumption

of regularity afforded to Defendants’ designation of the Record. The Record is complete, and

Plaintiffs’ motion should be denied.

                                         BACKGROUND

       Plaintiffs’ original complaint was a sweeping challenge to the alleged “systematic failure

of the Department of Homeland Security (‘DHS’) to produce to noncitizens and their counsel the

records that are necessary to support their claims and defenses or eligibility for benefits in a range

of civil immigration proceedings.” Compl. ¶ 1, ECF No. 1. The crux of the complaint was that

DHS has a so-called “Nondisclosure Policy” of denying noncitizens and their counsel timely

access to relevant records in violation of (largely undefined) disclosure obligations and instead

directing Plaintiffs to request those records through FOIA. Id. ¶¶ 1-4. Plaintiffs asserted that the

alleged policy violated the APA because it was “arbitrary, capricious, an abuse of discretion,

unconstitutional and otherwise incompatible with law,” and asked the Court to enjoin it and order

DHS to comply with its disclosure obligations. Id. ¶¶ 86-87, and Prayer for Relief.

       DHS moved to dismiss the complaint. ECF No. 23. Among other things, DHS argued that

despite Plaintiffs’ labeling an alleged practice across individual immigration proceedings a policy

and giving it a name—the “Nondisclosure Policy”—the complaint was actually a broad,

programmatic challenge rather than a challenge to discrete agency action, a requirement for an

APA claim. In response to this argument, the Court allowed the APA claim as to USCIS’s

consideration of affirmative asylum applications based on the complaint’s citation to DHS

regulations “that direct asylum applicants to file FOIA requests instead of seeking discovery for

relevant documents to which the regulations purportedly require access . . . .” Mem. & Order at
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15, ECF No. 50 (citing 8 C.F.R. §§ 208.12; 240.69). As to the other proceedings described in the

complaint, namely removal proceedings, the Court held the complaint did not point to comparable

regulations and thus failed to allege the existence of a discrete agency action. Id. at 15-17.

        Plaintiffs filed an amended complaint and DHS again moved to dismiss. DHS argued that

the amended complaint failed to identify any statute or regulation requiring DHS to produce in

removal proceedings the entire contents of a non-citizen’s A-file (the records Plaintiffs claim must

be produced in removal proceedings). Rather, the amended complaint merely took issue with how

DHS interpreted and implemented a Ninth Circuit decision about the provision of A-files in

removal proceedings, Dent v. Holder, 627 F.3d 365 (9th Cir. 2010). DHS explained why its

interpretation of Dent as requiring it to produce only those documents in the A-file that are relevant

to the particular removal proceedings, as opposed to the entirety of the A-file in every case—a

position that multiple courts have agreed with—and defaulting to FOIA for the remainder of the

A-file, is sensible and therefore not arbitrary and capricious or contrary to law. Defs.’ Mem. in

Supp. of Partial Mot. to Dismiss at 9-16, ECF No. 63; see also Defs.’ Reply in Supp. of Partial

Mot. to Dismiss at 2-8, ECF No. 68. DHS emphasized in its reply brief that relying on FOIA in

this way could not be arbitrary and capricious or contrary to law, as a matter of law, because “FOIA

is a generally applicable statute that provides individuals the right to request records from agencies;

there is nothing inherently unlawful or arbitrary and capricious about an agency employing that

statutory scheme where there is otherwise no applicable disclosure obligation.” ECF No. 68 at 5.

If it could be arbitrary and capricious to rely on FOIA for the production of records not otherwise

required to be produced, such a theory would amount to a broad programmatic challenge to how

documents are exchanged in removal proceedings and to the effectiveness of FOIA generally—

i.e., not discrete agency action. Id. at 7.
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       In a decision issued on March 16, 2023, the Court agreed with DHS that the amended

complaint fails to plausibly allege a claim regarding removal proceedings. Mem. & Order at 5-9,

ECF No. 80. Plaintiffs moved for reconsideration or for certification of an interlocutory appeal.

Pls.’ Mem. of Law in Supp. of their Mot. to Certify Interlocutory Appeal Under 28 U.S.C. §

1292(b), or in the Alternative, for Reconsideration of the Court’s March 16, 2023 Mem. & Order,

ECF No. 88. The Court denied both requests. Electronic Order, ECF No. 103 (Sept. 5, 2023). In

the meantime, DHS answered the surviving portions of the amended complaint—that is,

allegations related to Plaintiffs’ APA claim about a “Nondisclosure Policy” allegedly applied by

USCIS in adjudicating affirmative asylum applications. Defs.’ Answer at 1, ECF No. 90. In the

Answer, DHS denied that it has a “Nondisclosure Policy” pursuant to which it ignores its legal

obligations to disclose records in affirmative asylum proceedings and instead responds to any

suggestion that DHS has a duty to disclosure records in those proceedings by telling noncitizens

and their lawyers to “go file a FOIA [request].” See, e.g., Am. Compl. for Declaratory & Injunctive

Relief ¶ 4, ECF No. 57; ECF No. 90 ¶¶ 3, 4, 26, 27, 30.

       DHS also produced the Administrative Record for the surviving claim to Plaintiffs and

filed the Index for the Administrative Record. Defs.’ Notice of Filing of Index of Certified Admin.

Record, ECF No. 96. The index lists 49 records. Index of Certified Admin. Record, ECF No. 96-

1. Because there is no “Nondisclosure Policy” of denying noncitizens and their counsel access to

records during the affirmative asylum process and requiring them instead to file a FOIA request

for those records, there can be no documents or materials directly or indirectly considered by

agency decision-makers in adopting that purported policy. Rather than submitting nothing, DHS

compiled the Administrative Record for its actual policy, which is that USCIS produces certain

documents in the normal course of its consideration of an affirmative asylum application. Thus,
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the administrative record consists of the agency’s guidance and procedures for exchanging

information and documents with affirmative asylum applicants and their counsel during USCIS’s

adjudication of the asylum application, as well as the regulatory history for the two regulations the

Court relied on in allowing this claim to proceed, 8 C.F.R. §§ 208.12; 240.69. Defendants’

Certification ¶ 3, attached hereto as Exhibit A; see also Pls.’ Ex. D at 1, ECF No. 110-4; ECF No.

96-1.

         Plaintiffs contended that the record was incomplete, and the parties met and conferred. Pls.’

Exs. B-D, ECF No. 110-2 – 110-4. As a result of those conferrals, DHS added two documents to

the Administrative Record and filed an Amended Index. ECF No. 106. The certification that

accompanied the amended Administrative Record stated that the Amended Index, ECF No. 106-

1, reflects:

         a true and complete description of the non-privileged documents that were directly
         or indirectly considered in connection with the promulgation of 8 C.F.R.
         § 208.12(b) and 8 C.F.R. § 240.69, as well as the agency’s guidance and procedures
         regarding exchanging information and documents with affirmative asylum
         applicants and their counsel during USCIS’s adjudication of the applicant’s Form
         I-589, Application for Asylum and for Withholding of Removal.

Exhibit A, Defendants’ Certification ¶ 3.

         Unsatisfied, Plaintiffs filed the instant motion for leave to conduct limited discovery in

order to complete and/or supplement the Administrative Record. ECF No. 109. They claim that

the Administrative Record is incomplete because it does not contain any documents showing the

factors that the agency considered or relied on when making the decision to adopt the

“Nondisclosure Policy” that Plaintiffs invented. The motion does not seek as relief the addition of

certain materials to the Record, but rather seeks leave to conduct discovery to ascertain “what a

‘complete’ record should be comprised of.” Pls.’ Mem. of Law in Supp. of their Mot. for Leave to

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Conduct Limited Discovery in Order to Complete and/or Suppl. the Admin. R. at 11, ECF No.

111.

                                   STANDARD OF REVIEW

        The APA instructs a court reviewing agency action to “review the whole record or those

parts of it cited by a party.” 5 U.S.C. § 706. That “record consists of all documents and materials

directly or indirectly considered by agency decision-makers” in making the challenged decision.

City of Waltham v. U.S. Postal Serv., 786 F. Supp. 105, 116 (D. Mass. 1992) (cleaned up), aff’d,

11 F.3d 235 (1st Cir. 1993). The agency’s designation of the record is entitled to a presumption of

regularity that a party can overcome only by “clear evidence” to the contrary. Citizens to Pres.

Overton Park, Inc. v. Volpe, 401 U.S. 402, 415 (1971) (“the Secretary’s decision is entitled to a

presumption of regularity”); Bar MK Ranches v. Yuetter, 994 F.2d 735, 740 (10th Cir. 1993);

Sierra Club v. U.S. Army Corps of Eng’rs, No. 2:20-cv-00396, 2022 WL 2953075, at *1 (D. Me.

July 26, 2022).

        Because “the focal point for judicial review should be the administrative record already in

existence, not some new record made initially in the reviewing court,” Camp v. Pitts, 411 U.S.

138, 142 (1973), discovery is generally not necessary and is often prohibited in APA cases. Atieh

v. Riordan, 727 F.3d 73, 76 (1st Cir. 2013) (“APA review, however, involves neither discovery

nor trial.”). If “‘the reviewing court simply cannot evaluate the challenged agency action on the

basis of the record before it, the proper course, except in rare circumstances, is to remand to the

agency for additional investigation or explanation.’” City of Taunton v. U.S. Env’t Prot. Agency,

895 F.3d 120, 127 (1st Cir. 2018) (quoting Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744

(1985)); see also Olsen v. United States, 414 F.3d 144, 155 (1st Cir. 2005). Thus, there is a “strong

presumption against discovery into administrative proceedings,” NVE Inc. v. Dep’t of Health &
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Hum. Servs., 436 F.3d 182, 195 (3d Cir. 2006); see also USA Grp. Loan Servs., Inc. v. Riley, 82 F.3d

708, 715 (7th Cir. 1996) (“Discovery is rarely proper in the judicial review of administrative action.”);

Int’l Junior Coll. of Bus. & Tech., Inc. v. Duncan, 937 F. Supp. 2d 202, 204-05 (D.P.R. 2012) (“[T]he

narrowness of the APA action for judicial review weighs heavily against discovery.”), aff’d, 802 F.3d

99 (1st Cir. 2015).

        Accordingly, the standard for conducting discovery in an APA case is high. See Boston

Redevelopment Auth. v. Nat’l Park Serv., 838 F.3d 42, 48 (1st Cir. 2016) (noting discovery is rare

in APA cases). Courts have allowed limited discovery “where . . . the complaining party has

insinuated either that the agency acted in bad faith or that the administrative record is incomplete.”

Id. And a party is required to make a “significant showing—variously described as a strong,

substantial, or prima facie showing—that it will find material in the agency’s possession indicative

of one” of those exceptions. Air Transport Ass’n of America, Inc. v. Nat’l Mediation Bd, 663 F.3d

476, 487-88 (D.C. Cir. 2011); see also Olsen, 414 F.3d at 155-56 (affirming district court decision

denying motion to conduct discovery in an APA case because plaintiff made “scant showing” that

“information he would have sought related to the question of whether” the agency abused its

discretion). After discovery, courts occasionally exercise their discretion to (1) supplement the

record with extra-record evidence that was not before the decisionmaker or (2) order the

government to complete or correct the record with material that should have been included because

the decisionmaker considered it but was nonetheless omitted. See Sierra Club, 2022 WL 2953075,

at *1, 2 (distinguishing between completing and supplementing the record); Univ. of Colo. Health

at Mem’l Hosp. v. Burwell, 151 F. Supp. 3d 1, 13 (D.D.C. 2015) (distinguishing the two ways in

which a litigant may seek to add to an administrative record), granting motion for reconsideration,

164 F. Supp. 3d 56, 68-69 (D.D.C. 2016).

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                                            ARGUMENT

        I.      Plaintiffs Have Not Met Their Burden to Show that Discovery is Necessary
                Based on the Incompleteness of the Record.

        Plaintiffs do not attempt to show any bad faith or improper behavior by Defendants in

compiling the record. Rather, their request to conduct discovery in this APA case is based on their

tautological contention that the record is incomplete because they insist the Administrative Record

“contains no indication of the reasoning behind the agency’s decision to enact the Nondisclosure

Policy, or the ‘relevant factors’ it considered in adopting the Policy.” ECF No. 111 at 6. But that

is because there is no Nondisclosure Policy to begin with, as DHS has consistently maintained in

this case. The agency cannot manufacture reasoning, much less a record, for a policy that does not

exist and that it did not adopt in the first place. Thus, there is not a policy requiring that noncitizens

and their counsel obtain all affirmative-asylum-related documents and information through FOIA.

USCIS’s actual policy is that in considering an affirmative asylum application, USCIS produces,

without requiring a FOIA request, certain documents to the noncitizen and their counsel in

conjunction with its normal case processing procedures. Beyond that, FOIA provides individuals

the right to request and receive, unless exempt, records from agencies.

        Given these realities, the Administrative Record includes the guidance provided to asylum

officers about when and what documents should be exchanged between USCIS and the applicants

and their counsel. See Exhibit A, Defendants’ Certification ¶ 3 (Administrative Record includes

“agency’s guidance and procedures regarding exchanging information and documents with

affirmative asylum applicants and their counsel.”). It also includes the materials that the

decisionmaker considered, directly or indirectly, in promulgating 8 C.F.R. § 208.12(b), which

provides that asylum applicants are not entitled to conduct discovery during the affirmative asylum


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process but are free to use FOIA to obtain documents.1 Nonetheless, Plaintiffs believe there should

be more documents containing the agency’s “reasoning” that FOIA is the vehicle for requesting

documents not normally produced, ECF No. 111 at 6. Contrary to Plaintiffs’ counterfactual

insistence, the reasoning is self-evident. FOIA provides a statutory right to request records from

any agency across the federal government, for any purpose, and 8 C.F.R. § 208.12(b)’s reference

to FOIA clarifies that the affirmative asylum-related regulations do not adversely impact that right.

       DHS will argue at summary judgment that the information it routinely exchanges with

noncitizens and their counsel during the course of its consideration of an affirmative asylum

application meets any applicable statutory or regulatory disclosure requirements. For example, in

compliance with 8 U.S.C. § 103.2(b)(7), an applicant need not file a FOIA request to obtain a copy

of a sworn statement. See Administrative Record (“AR”) at USCIS3219-20 (Administrative

Record excerpts attached hereto as Exhibit B). See also, e.g., id. at USCIS3229 (noting production

of Department of State Bureau of Democracy, Human Rights and Labor comments in compliance

with 8 C.F.R. § 208.11(c)). Plaintiffs are free to argue otherwise but have not explained why the

Administrative Record the agency compiled prevents them from doing so.

       Plaintiffs further complain that the Administrative Record does not contain any records

about USCIS’s understanding of the requirements of 8 C.F.R. § 103.2(b)(16), which provides that

an applicant “shall be permitted to inspect the record of proceeding which constitutes the basis for

the decision,” with certain exceptions. See also ECF No. 80 at 7 (citing 8 C.F.R. § 103.2(b)(16)).


       1
          Out of an abundance of caution, DHS included in the Administrative Record materials
the decisionmaker considered, directly or indirectly, in promulgating 8 C.F.R. § 240.69 because
the Court and Plaintiffs cited that section. Section 240.69, however, by its terms applies to a
determination as to whether an applicant is eligible for suspension of deportation or special rule
cancellation of removal, not USCIS’s consideration of an affirmative asylum application. In
contrast, 8 C.F.R. § 208.12, by its terms, applies to an asylum application.
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In relevant part, § 103.2(b)(16) states:

   Inspection of evidence. An applicant or petitioner shall be permitted to inspect the
   record of proceeding which constitutes the basis for the decision, except as provided in
   the following paragraphs.

       (i)     Derogatory information unknown to petitioner or applicant. If the decision
               will be adverse to the applicant or petitioner and is based on derogatory
               information considered by the Service and of which the applicant or
               petitioner is unaware, he/she shall be advised of this fact and offered an
               opportunity to rebut the information and present information in his/her own
               behalf before the decision is rendered, except as provided in paragraphs
               (b)(16)(ii), (iii), and (iv) of this section. Any explanation, rebuttal, or
               information presented by or in behalf of the applicant or petitioner shall be
               included in the record of proceeding.

8 C.F.R. § 103.2(b)(16). Contrary to Plaintiffs’ argument, the Administrative Record includes

information about what the record of proceeding (ROP) is and what types of records it may contain,

such as immigration benefit applications, the notice of intent to deny (“NOID”), responses to the

NOID, interview notices, sworn statements, and decision letters. Exhibit B, AR at USCIS3326-28,

3371. It also includes information about what types of records are not considered part of the ROP,

such as the asylum officer’s interview notes and memoranda to file. Id. And it contains information

about when the agency generally discloses to the noncitizen the types of records contained in the

ROP, including guidance about the timing and contents of the NOID, which identifies negative

information and provides the applicant a chance to respond, and about the timing and contents of

the agency’s decision letter. Id. at USCIS3228-30, 3235-50, 3265-95, 3305-06; see also ECF No.

106-1 at 2-3. Thus, there are documents in the Administrative Record that address the ROP, which

is the subject of Plaintiffs’ declaration of Stefanie Fisher. See ECF No. 110-1 (asserting that Fisher

was denied access to a ROP at a USCIS asylum office and told to file a FOIA request for it). And,

once again, the Administrative Record contains the materials the decisionmaker considered in

promulgating 8 C.F.R. § 208.12(b), which provides that asylum applicants are not entitled to
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conduct discovery during the affirmative asylum process but are free to use FOIA to obtain

documents.2

       Plaintiffs also point as evidence that the Record is incomplete to the fact that DHS only

included portions of two manuals and a training document in the Record, rather than the two

manuals in their entirety and all trainings. ECF No. 111 at 8-9. But Plaintiffs provide nothing more

than their own rank speculation that excluded portions of the manuals and trainings were

considered or relied upon by the agency in deciding what information to provide to noncitizens

and their counsel during the asylum process—the standard for inclusion in the Record. DHS

included in the Record the portions of the manuals and the training document that speak to

information and document exchange among USCIS and the applicant and their counsel, along with

the manuals’ table of contents, and excluded the rest as outside the scope of the action challenged.

See Exhibit A, Certification; see also Pls’ Ex. D, Sept. 12, 2023 Snyder Letter, ECF No. 110-4.

The only concrete example Plaintiffs provide of a portion of these documents that should have

been included in the Record is a section in the Affirmative Asylum Procedures Manual entitled

“Termination Of An Asylum Approval.” ECF No. 111 at 8. But Plaintiffs’ claim is that “DHS

withholds information that may be used to deny [asylum] applications with USCIS.” ECF No. 57

¶ 30. See also ECF No. 50 at 15 (citing paragraph 32 of the original complaint). It does not extend

to the termination of an already-approved asylum application. Moreover, the cited provision does

not speak to any agency decision about the exchange of documents and, instead, merely provides


       2
          As a practical matter, according to the few details provided in Ms. Fisher’s declaration, it
is unlikely that the ROP for the case Ms. Fisher inquired about would have contained much beyond
the asylum application submitted by her client and the Form G-28, Notice of Entry of Appearance,
that she submitted. The case was ongoing, so there would not have been a notice of intent to deny
or a decision letter. Nor would any notes taken by the asylum officer during her client’s first two
interviews, or other work papers, have been part of the ROP. Exhibit B, AR at USCIS3328, 3371.
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logistical instructions for instances in which a noncitizen happens to have a pending FOIA request.

See Pls.’ Ex. E, ECF No. 110-5.

       For all the above reasons, Plaintiffs have not shown that they will find material in the

agency’s possession indicative of an incomplete record. The cases on which Plaintiffs rely where

discovery was permitted based on a finding that the record was incomplete are therefore inapposite.

For example, in Dopico v. Goldschmidt, 687 F.2d 644 (2d Cir. 1982), a case upon which Plaintiffs

principally rely, the Second Circuit held that the district court improperly granted summary

judgment because it did not permit the plaintiffs some limited discovery to explore whether some

portions of the administrative record were not provided on the basis that there was a “strong

suggestion” that the record was incomplete because of the absence of a specific document that was

“fundamental” to the decision making. Id. at 654. See also Dolphin Park TT, LLC v. United States,

162 Fed. Cl. 248, 257 n.3 (Fed. Cl. 2022) (allowing discovery only after finding “numerous and

significant inconsistences, conflicts, and contradictions currently within the record”); Vidal v.

Duke, No. 16-CV-4756, 2017 WL 8773110, at *2 (E.D.N.Y. Oct. 17, 2017) (allowing discovery

only as to non-APA, constitutional and equitable claims relating to collateral decisions that were

not reflected in the administrative record); Miami Nation of Indians of Ind. v. Babbitt, 979 F. Supp.

771, 776 (N.D. Ind. 1996) (allowing discovery after finding AR incomplete).3




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          Plaintiffs also cite United States v. Bell Petroleum Services, Inc., 718 F. Supp. 588 (W.D.
Tex. 1989). ECF No. 111 at 11. That court seemingly allowed discovery without ever addressing
whether the plaintiffs made the requisite showing of incompleteness. 718 F. Supp. at 591
(authorizing discovery because “the discovery process is meant to give litigants an opportunity to
leave no stone unturned.”). This holding is inconsistent with First Circuit precedent that generally
precludes discovery in APA cases, see Atieh, 727 F.3d at 76, unless the administrative record is
likely incomplete. Boston Redevelopment Auth., 838 F.3d at 48.
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       Moreover, Plaintiffs’ are wrong that discovery is appropriate because courts do not

“hesitate[]” to order discovery “in cases involving agency-wide polices.” ECF No. 111 at 10. The

opposite is true. Courts routinely rely on administrative records in cases involving agency-wide

policies. See, e.g., Transp. Div. of the Int’l Ass’n of Sheet Metal, Air, Rail & Transp. Workers v.

Fed. R.R. Admin., 10 F.4th 869, 872, 878 (D.C. Cir. 2021) (labor unions challenge to national risk

reduction regulation limited to administrative record). The cases that Plaintiffs cite where

discovery was permitted are easily distinguishable. In Manker v. Spencer, a class action, the court

allowed limited discovery because the agency’s administrative record included only the individual

adjudications of the two named plaintiffs, as opposed to any records regarding the challenged

national policy or the rest of the class. No. 3:18-cv-372, 2019 WL 5846828, at *19-20 (D. Conn.

Nov. 7, 2019). And in Pension Benefit Guaranty Corp. v. LTV Steel Corp., the court allowed

limited discovery after describing the circumstances there as “unusual,” noting the “relatively

small number” of agency-created documents in the administrative record, identifying the absence

of “formal administrative findings,” and evaluating the case as one of first impression that raised

novel and complex issues. 119 F.R.D. 339, 342 (S.D.N.Y 1988). Here, Plaintiffs do not identify

any “unusual” circumstances or a particularly small number of documents, and the Administrative

Record includes the records relating to USCIS’s national disclosure policies. Moreover, to the

extent that Plaintiffs challenge the general bar to discovery in § 208.12(b), they contest a decades-

old notice-and-comment regulation for which the Record includes the relevant “findings.” See

Exhibit A, Defendants’ Certification.

       An additional reason to reject Plaintiffs’ request is that they do not in fact seek “limited”

discovery—even though they concede that their request should be so limited. Despite calling it

“limited,” the discovery Plaintiffs’ seek is constrained only by the amount of time they expect it
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to last—“as short as 90 to 120 days”—but even that is only if Defendants satisfy their view of

promptness. ECF No. 111 at 11. The scope of discovery Plaintiffs seek is broad and expansive

and includes depositions and document discovery. Id. at 11-13. It is clear from their request that

Plaintiffs want to conduct a fishing expedition to try to find a non-existent policy, contrary to the

Administrative Record that contains the contours and basis for the actual policy. This is sure to

mire the parties and the Court in discovery for an extended period of time. The Court should deny

Plaintiffs’ request to conduct “limited discovery.”

       II.     Plaintiffs Have Not Met Their Burden to Show That the Record Requires
               Supplementation or Completion.

       In a footnote, Plaintiffs claim that “[c]ompletion of the Record with the withheld portions

of [the two USCIS manuals and additional trainings] is appropriate regardless whether the Court

finds that limited discovery is inappropriate,” id. at 14 n.6, despite the fact that their motion only

asks for discovery to determine the appropriate scope of the Record and to supplement the Record

with any additional materials obtained through discovery. Even if this were sufficient to raise

supplementation or completeness now as the relief sought, Plaintiffs do not meet the standard for

supplementing or completing the Record with the full manuals and all training documents.

       Courts occasionally exercise their discretion to (1) supplement the record with extra-record

evidence that was not before the decisionmaker or (2) order the government to complete or correct

the record with material that should have been included because the decisionmaker considered it

but was nonetheless omitted. See Sierra Club, 2022 WL 2953075, at *1-2. Courts “may consider

supplemental evidence [of extra-record material] to facilitate [their] comprehension of the record

or the agency’s decision” when “faced with a ‘failure to explain administrative action as to frustrate

effective judicial review.’” City of Taunton, 895 F.3d at 127 (quoting Olsen, 414 F.3d at 155-56).


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This supplementation is the exception and not the rule. Id. And, as explained above,

supplementation is not appropriate here because the Administrative Record explains DHS’s

disclosure policies and does not frustrate judicial review of those policies.

       Further, because the administrative record is entitled to a presumption of regularity, Bar

MK Ranches, 994 F.2d at 740, courts require completion only when a “plaintiff [ ] put[s] forth

concrete evidence that the documents it seeks to ‘add’ to the record were actually before the

decisionmakers.” Univ. of Colo. Health, 151 F. Supp. 3d at 13 (quoting Marcum v. Salazar, 751

F. Supp. 2d 74, 78 (D.D.C. 2010)). To make that showing, “a plaintiff must do more than simply

assert,” as Plaintiffs do here, see ECF No. 111 at 8-9, “that materials were relevant or were before

an agency when it made its decision.” Univ. of Colo. Health, 151 F. Supp. 3d at 13 (citation

omitted); see also Nat’l Mining Ass’n v. Jackson, 856 F. Supp. 2d 150, 157 (D.D.C. 2012) (“It is

not enough for the plaintiffs to assert that ‘the [agency] knew about these’ documents[.]”).

“Instead, the plaintiff ‘must identify reasonable, non-speculative grounds for its belief that the

documents were considered by the agency and not included in the record.’” Marcum, 751 F. Supp.

2d at 78 (quoting Pac. Shores Subdivision Cal. Water Dist. v. U.S. Army Corps of Eng’rs, 448 F.

Supp. 2d 1, 6 (D.D.C. 2006)).

       Plaintiffs suggest (ECF No. 111 at 9) that the omitted portions of these materials “could

well contain information that USCIS considered, or should have considered, in adopting the

challenged Policy” and that the missing materials “very likely contain information about DHS’s

policies in asylum proceedings, [that] could also be relevant to the Court’s review of the challenged

Policy.” But this speculation falls well short of meeting their high burden to overcome the

presumption of regularity that accompanies an Administrative Record. See Banner Health v.

Sebelius, 945 F. Supp. 2d 1, 17 (D.D.C. 2013) (a challenger must “identify the materials allegedly
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omitted from the record with sufficient specificity, as opposed to merely proffering broad

categories of documents and data that are ‘likely’ to exist as a result of other documents that are

included in the administrative record.”), vacating decision in part on reconsideration, No. 10-

01638, 2013 WL 11241368 (D.D.C. July 30, 2013). Accordingly, Plaintiffs’ request to supplement

or complete the Administrative Record with the full manuals and training documents should be

denied.

          Even more unsubstantiated is Plaintiffs’ request to be allowed to supplement the

Administrative Record with whatever unknown “information, documents, or communications that

are revealed through limited discovery” that were before the agency and that Plaintiffs deem to be

relevant. ECF No. 111 at 14. They provide no authority or basis for asking the Court to issue an

order now giving Plaintiffs carte blanche to add whatever records they like to the Administrative

Record at some point in the future. The Court should reject this boundless request as well.

                                          CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiffs’

motion.

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December 7, 2023                         Respectfully submitted,

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